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  1   Richard J. Grabowski (State Bar No. 125666)
      Ryan D. Ball (State Bar No. 321772)
  2   Jack Williams IV (State Bar No. 309154)
      JONES DAY                                          DENIED
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      Irvine, California 92612
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  7   Attorneys for Defendant
      EXPERIAN INFORMATION
  8   SOLUTIONS, INC.
  9                       UNITED STATES DISTRICT COURT
 10                     CENTRAL DISTRICT OF CALIFORNIA
 11

 12   BRYCE ABBINK,                         Case No. 8:19-cv-01257-JFW-PJWx
 13                  Plaintiffs,            Hon. John F. Walter
 14         v.                              [PROPOSED] ORDER GRANTING
                                            STIPULATION TO EXTEND TIME
 15   EXPERIAN INFORMATION                  TO RESPOND TO INITIAL
      SOLUTIONS, INC., et al.,              COMPLAINT AND TO EXTEND
 16                                         TIME TO FILE A MOTION FOR
                     Defendants.            CLASS CERTIFICATION
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                                            Complaint filed: June 21, 2019
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                                                            [PROPOSED] ORDER GRANTING
                                                                               STIPULATION
                                                            Case No. 8:19-cv-01257-JFW-PJWx
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  1                                 [PROPOSED] ORDER
  2         The Court, having considered the stipulation of Plaintiff Bryce Abbink
  3   (“Plaintiff”) and Defendant Experian Information Solutions, Inc. (“Experian”) to
  4   extend the date on which Experian shall file an answer or other response to the
  5   Complaint and the date on which Plaintiff shall file a motion for class certification
  6   pursuant to Civil L.R. 23-3 (“Motion for Class Certification”), the declaration of Jack
  7   Williams IV in support of the stipulation, and for good cause appearing, hereby
  8   orders that Experian’s deadline to file its answer or otherwise respond to the
  9   Complaint in this matter shall be August 22, 2019, and that Plaintiff’s deadline to file
 10   his Motion for Class Certification shall be December 30, 2019.
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 12   IT IS SO ORDERED.
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 14   Date: ___________________                      ______________________________
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                                                     Hon. John F. Walter
                                                     United States District Judge
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 28                                                                [PROPOSED] ORDER GRANTING
                                                                                      STIPULATION
                                               -2-                 Case No. 8:19-cv-01257-JFW-PJWx
